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                          United States District Court
                              SOUTHERN DISTRICT OF CALIFORNIA

FIREARMS POLICY COALITION,
INC.; CALIFORNIA GUN RIGHTS                                   Civil Action No. 23-cv-00400-LL-VET
FOUNDATION; SAN DIEGO
COUNTY GUN OWNERS PAC,
                                               Plaintiff,
                                         V.
CITY OF SAN DIEGO; COUNTY OF                                    JUDGMENT IN A CIVIL CASE
IMPERIAL; COUNTY OF ALAMEDA;
COUNTY OF VENTURA; COUNTY OF
LOS ANGELES; CITY OF SAN JOSE; and
COUNTY OF SANTA CLARA,             Defendant.


 Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
 or heard and a decision has been rendered.

 IT IS HEREBY ORDERED AND ADJUDGED:
  The Court DISMISSES the action for lack of subject matter jurisdiction. Plaintiffs’ motion for a
  preliminary injunction [ECF. No. 20] is also DENIED AS MOOT. Case is closed.




  Date:          1/9/24                                          CLERK OF COURT
                                                                 JOHN MORRILL, Clerk of Court
                                                                 By: s/ D.Frank
                                                                                        D.Frank, Deputy
